         Case 2:20-cv-02675-PBT Document 30 Filed 06/10/22 Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

MAJOR GEORGE TILLERY,                          :
                                               :
              Petitioner,                      :          CIVIL ACTION
                                               :
              v.                               :          NO. 20-2675
                                               :
KENNETH EASON, et al.,                         :
                                               :
              Respondents.                     :

                                          ORDER

       AND NOW, this 10th day of June 2022, upon consideration of Petitioner’s “Motion for

Leave to Exceed Page Limit” (ECF No. 27) and the Amended Petition for Writ of Habeas

Corpus (ECF No. 28), IT IS HEREBY ORDERED AND DECREED that:

           1. Petitioner’s Motion (ECF No. 27) is GRANTED; and

           2. Petitioner may file his Counseled and Amended Petition for Writ of Habeas

              Corpus in excess of the Court’s twenty-five (25) page limit.



                                                          BY THE COURT:

                                                          /s/ Petrese B. Tucker
                                                          ____________________________
                                                          Hon. Petrese B. Tucker, U.S.D.J.
